        Case 1:07-cr-00156-LJO Document 144 Filed 04/16/08 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                              CASE NO. CR F 07-0156 LJO
12                          Plaintiff,                      ORDER TO SET EVIDENTIARY HEARING
            vs.
13                                                          Date: April 25, 2008
     PORCHA NEAL,                                           Time: 1:30 p.m.
14                                                          Dept.: 4 (LJO)
                            Defendant.
15                                               /
16          This Court SETS a hearing for April 25, 2008 at 1:30 p.m. in Department 4 (LJO) on defendant
17   Porcha Neal's (“defendant’s”) request for an order for a root canal. At the hearing, defendant’s counsel
18   should be ready to provide evidence and law to address:
19          1.      Whether this Court has authority and jurisdiction to order the County of Fresno to
20                  provide specific medical or dental attention, and if this Court has such authority, whether
21                  proper NOTICE needs to be given to County Counsel;
22          2.      If the matter survives JURISDICTION and DUE PROCESS:
23                  A.      Why defendant did not obtain the dental treatment during the period from when
24                          it was recommended to her by her dentist to the date she came into custody, a
25                          span of approximately 5 months;
26                  B.      The dental weighing and balancing of benefits and risks of extraction vs. root
27                          canal work; and
28                  C.      Reasons that the County jail refuses the dental care specifically requested,

                                                        1
        Case 1:07-cr-00156-LJO Document 144 Filed 04/16/08 Page 2 of 2


 1                          including whether medical personnel at the jail are aware of H. Chang,
 2                          D.D.S.' medical opinion that a new x-ray and reevaluation occur immediately
 3                          (see his recent handwritten portion of his declaration filed by defendant’s
 4                          counsel).
 5          If defendant’s counsel is unable to provide this information, or his legal or factual work precludes
 6   this Court from acting (either because the law prevents it, OR the factual information is not readily
 7   available), counsel shall notify the Court so that the evidentiary hearing can be vacated.
 8          IT IS SO ORDERED.
 9   Dated:     April 16, 2008                         /s/ Lawrence J. O'Neill
     66h44d                                        UNITED STATES DISTRICT JUDGE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                         2
